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                      EXHIBIT A
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                                                                                                       USOO666.0651B1

(12) United States Patent                                                          (10) Patent No.:                US 6,660,651 B1
       Markle                                                                      (45) Date of Patent:                        Dec. 9, 2003

(54) ADJUSTABLE WAFER STAGE, ANDA                                                      6,258,220 B1,    7/2001 Dordi et al. ................ 204/198
        METHOD AND SYSTEM FOR PERFORMING
        PROCESS OPERATIONS USING SAME                                             cited by examiner
                                                                                Primary Examiner William A. Powell
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(73) Assignee: Advanced Micro Devices, Inc., Austin,                            AmerSon, P.C.
                       TX (US)                                                  (57)                     ABSTRACT
(*) Notice:            Subject to any disclaimer, the term of this              A process tool comprised of an adjustable wafer stage and
                       patent is extended or adjusted under 35                  various methods and systems for performing process opera
                       U.S.C. 154(b) by 136 days.                               tions using same is disclosed herein. In one illustrative
                                                                                 attent." PE r comprised ". proceSS
                                                                                chamber, and an adjustable wafer Stage in the process
(21)    Appl. No.: 10/010,463                                                   chamber to receive a wafer positioned thereabove, the wafer
(22)    Filed:       Nov. 8, 2001                                               Stage having a Surface that is adapted to be raised, lowered
                7                                                               or tilted. In further embodiments, the process tool further
(51)    Int. Cl." ................................................ H01L 21/00   comprises at least three pneumatic cylinders or at least three
(52)    U.S. Cl. ............. 438/729; 156/345.24; 156/345.51;                 rack and pinion combinations, each of which are operatively
                                                               438/9; 438/694   coupled to the wafer Stage by a ball and Socket connection.
(58) Field of Search ....................... 156/345.23, 345.51,                A System disclosed herein is comprised of a metrology tool
                        156/345.55, 345.24; 438/8, 9, 694-729;                  for measuring a plurality of waferS processed in a process
                                                        216/67                  tool to determine acroSS-Wafer variations produced by the
                                                                                process tool, a process tool comprised of an adjustable wafer
(56)                    References Cited                                        Stage that has a Surface adapted to receive a wafer to be
                  U.S. PATENT DOCUMENTS                                         processed in the tool, and a controller for adjusting a plane
                                                                                of the Surface of the wafer Stage based upon the determined
       4,836.905 A * 6/1989 Davis et al. ........... 156/345.51                 acroSS-wafer variations produced by the tool, whereby the
       5,076,877 A * 12/1991 Ueda et al. ............ 156/345.55                process tool processes at least one Subsequently processed
       5,928,732 A    7/1999 Law et al. .................. 427/579              wafer positioned on the wafer Stage after the plane of the
       6,057.244. A   5/2000 Hausmann et al. ......... 438/706                  Surface of the wafer Stage has been adjusted.
       6,068,784. A         5/2000 Collins et al. ................ 216/68
       6,235,646 B1         5/2001 Sharan et al. .....       ... 438/771
       6.251,792 B1         6/2001 Collins et al. .............. 438/710                        86 Claims, 3 Drawing Sheets



                                76                                                        74
                                                                                                                                      70
                        METROLOGY TOOL                                                 CONTROLLER                          11




                S                                                                   PROCESS TOOL                            40
                                                                                       2
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                                     FIG. 1
                                (Prior Art)



                 76                               74
                                                                      70
               METROLOGY TOOL                   CONTROLLER




          28
          S                                    PROCESS TOOL      40
                                               2


                                     FIG. 6
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                                  FIG. 2




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                                  FIG. 4
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           ADJUSTABLE WAFER STAGE, ANDA                          tive lines, openings in layers of insulating material, etc., are
    METHOD AND SYSTEM FOR PERFORMING                             formed to very precisely controlled dimensions. Such
      PROCESS OPERATIONS USING SAME                              dimensions are Sometimes referred to as the critical dimen
                                                                 sion (CD) of the feature. It is very important in modern
                                                                 Semiconductor processing that features be formed with a
            BACKGROUND OF THE INVENTION                          high degree of accuracy due to the reduced size of those
   1. Field of the Invention                                     features in Such modern devices. For example, gate elec
                                                                 trodes may now be patterned to a width 12 that is approxi
   This invention relates generally to Semiconductor fabri       mately 0.18 um (1800 A), and further reductions are planned
cation technology, and, more particularly, to an adjustable    in the future. The width 12 of the gate electrode 14 corre
wafer Stage, and a method and System for performing            sponds approximately to the channel length 13 of the
proceSS operations using Same.                                 transistor 10 when it is operational. Of course, the critical
   2. Description of the Related Art                           dimension 12 of the gate electrode 14 is but one example of
   There is a constant drive within the Semiconductor indus    a feature that must be formed very accurately in modern
try to increase the operating Speed of integrated circuit 15 Semiconductor manufacturing operations. Other examples
devices, e.g., microprocessors, memory devices, and the include, but are not limited to, conductive lines, openings in
like. This drive is fueled by consumer demands for com insulating layers to allow Subsequent formation of a con
puters and electronic devices that operate at increasingly ductive interconnection, i.e., a conductive line or contact,
greater Speeds. This demand for increased Speed has resulted therein, etc. Thus, even slight variations in the actual dimen
in a continual reduction in the size of Semiconductor          Sion of the feature as fabricated may adversely affect device
devices, e.g., transistors. That is, many components of a performance. Thus, there is a great desire for a method that
typical field effect transistor (FET), e.g., channel length, may be used to accurately, reliably and repeatedly form
junction depths, gate insulation thickness, and the like, are features to their desired critical dimension, e.g., to form the
reduced. For example, all other things being equal, the gate electrode 14 to its desired critical dimension 12.
Smaller the channel length of the transistor, the faster the 25 In manufacturing Semiconductor devices, many deposi
transistor will operate. Thus, there is a constant drive to tion processes and etching processes may be performed. For
reduce the size, or Scale, of the components of a typical example, a variety of process layers, e.g., layers of
transistor to increase the overall Speed of the transistor, as polysilicon, metal or insulating materials, may be formed by
well as integrated circuit devices incorporating Such tran performing a variety of deposition processes, e.g., chemical
Sistors.                                                        vapor deposition (“CVD), plasma enhanced chemical
   By way of background, an illustrative field effect transis vapor deposition (“PECVD"), physical vapor deposition
tor 10, as shown in FIG. 1, may be formed above a surface (“PVD”), etc. Additionally, a variety of etching processes,
15 of a semiconducting substrate or wafer 11 comprised of Such as a dry plasma etching process, may be performed to
doped-silicon. The Substrate 11 may be doped with either pattern an underlying process layer.
N-type or P-type dopant materials. The transistor 10 may 35 Unfortunately, many processes used in manufacturing
have a doped polycrystalline silicon (polysilicon) gate elec integrated circuit devices, Such as deposition and etch
trode 14 formed above a gate insulation layer 16. The gate processes, tend to exhibit acroSS-wafer variations. For
electrode 14 and the gate insulation layer 16 may be sepa example, a deposition proceSS may tend to produce process
rated from doped source/drain regions 22 of the transistor 10 layers that are thicker near an edge region of the wafer than
by a dielectric Sidewall spacer 20. The Source/drain regions 40 near a center region of the wafer, and Vice versa. Moreover,
22 of the transistor 10 may be formed by performing one or this variation may not be uniform around the circumference
more ion implantation processes to introduce dopant atoms, of the wafer, i.e., the thickness variation may occur in only
e.g., arsenic or phosphorous for NMOS devices, boron for one quadrant of the wafer. Similarly, etching processes may
PMOS devices, into the Substrate 11. Shallow trench isola          exhibit acroSS-wafer non-uniformity characteristics. For
tion regions 18 may be provided to isolate the transistor 10 45 example, the etching rate may be greater near a center region
electrically from neighboring Semiconductor devices, Such of the wafer than it is near an edge region of the wafer.
as other transistors (not shown).                                  Moreover, as with deposition processes, these variations
   In the process of forming integrated circuit devices, may not be uniform around the circumference of the wafer,
millions of transistors, such as the illustrative transistor 10    i.e., they may occur in localized areas.
depicted in FIG. 1, are formed above a Semiconducting 50 Such variations are problematic in modem integrated
Substrate. In general, Semiconductor manufacturing opera circuit manufacturing. Such variations, even if Small in
tions involve, among other things, the formation of layers of absolute magnitude, may adversely impact the ability to
various materials, e.g., polysilicon, insulating materials, form features on integrated circuits with the precision
metals, etc., and the Selective removal of portions of those required for modem integrated circuit devices. Additionally,
layers by performing known photolithographic and etching 55 Such proceSS Variations may require adjustments to Subse
techniques. These processes, along with various ion implant quent processing operations in an attempt to compensate for
and heating processes, are continued until Such time as the the acroSS-wafer variations. For example, a deposition pro
integrated circuit device is complete. Additionally, although ceSS may result in a process layer that is thicker at the edge
not depicted in FIG. 1, a typical integrated circuit device is of the wafer than it is at the center of the wafer, i.e., the
comprised of a plurality of conductive interconnections, 60 process layer may have a Surface profile that is approxi
Such as conductive lines and conductive contacts or Vias,          mately concave. In that situation, a Subsequent chemical
positioned in multiple layers of insulating material formed mechanical polishing (“CMP") process may be performed in
above the Substrate. These conductive interconnections             which parameters of the CMP process are adjusted in an
allow electrical Signals to propagate between the transistors effort to increase the polishing performed near the edge
formed above the Substrate.                                     65 region of the wafer. Accordingly, Such acroSS-wafer varia
   During the course of fabricating Such integrated circuit tions resulting from certain processing operations are unde
devices, a variety of features, e.g., gate electrodes, conduc sirable.
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   The present invention is directed to overcoming, or at                 BRIEF DESCRIPTION OF THE DRAWINGS
least reducing the effects of, one or more of the problems           The invention may be understood by reference to the
described above.
                                                                   following description taken in conjunction with the accom
            SUMMARY OF THE INVENTION                               panying drawings, in which like reference numerals identify
                                                                   like elements, and in which:
   The present invention is generally directed to a proceSS          FIG. 1 is a cross-sectional view of an illustrative prior art
tool comprised of an adjustable wafer Stage, and various transistor;
methods and Systems for performing proceSS operations                FIG. 2 is a cross-sectional view depicting an illustrative
using Same. In one illustrative embodiment, the process tool wafer       Stage having an adjustable Surface;
is comprised of a process chamber, and an adjustable wafer
Stage positioned in the process chamber to receive a wafer           FIG.  3 is a bottom view of the illustrative wafer stage
positioned thereabove, the wafer Stage having a Surface that depicted in FIG. 2;
is adapted to be raised, lowered or tilted. In further               FIGS. 4 and 5 are views of one illustrative rack and pinion
embodiments, the process tool may be comprised of a 15 assembly that may be employed with the present invention;
plurality of pneumatic cylinders or rack and pinion combi and
nations that are operatively coupled to the wafer Stage. The         FIG. 6 depicts an illustrative embodiment of a system in
cylinders and rack and pinion combinations may be used to accordance with one embodiment of the present invention.
move or adjust the wafer Stage. In even further                      While the invention is susceptible to various modifica
embodiments, the process tool may further comprise at least tions and alternative forms, specific embodiments thereof
three pneumatic cylinders or at least three rack and pinion have been shown by way of example in the drawings and are
combinations, each of which are operatively coupled to the herein described in detail. It should be understood, however,
wafer Stage by a ball and Socket connection.                      that the description herein of Specific embodiments is not
   One illustrative method disclosed herein comprises pro intended to limit the invention to the particular forms
Viding a process chamber comprised of a wafer Stage, the 25 disclosed, but on the contrary, the intention is to cover all
wafer Stage having a Surface that is adjustable, adjusting the modifications, equivalents, and alternatives falling within
Surface of the wafer Stage by performing at least one of the Spirit and Scope of the invention as defined by the
raising, lowering and varying a tilt of the Surface of the appended claims.
wafer Stage, positioning a wafer on the wafer Stage, and                      DETAILED DESCRIPTION OF THE
performing a process operation on the wafer positioned on                                 INVENTION
the wafer stage. In further embodiments, the method further
comprises adjusting the Surface of the wafer Stage by                Illustrative embodiments of the invention are described
actuating at least one of a plurality of pneumatic cylinders below. In the interest of clarity, not all features of an actual
that are operatively coupled to the wafer Stage, or by implementation are described in this specification. It will of
actuating at least one of a plurality of rack and pinion 35 course be appreciated that in the development of any Such
combinations that are operatively coupled to the wafer Stage.     actual embodiment, numerous implementation-Specific
   Another illustrative method of the present invention com decisions must be made to achieve the developerS Specific
prises performing a process operation in a process tool on goals, Such as compliance with System-related and busineSS
each of a plurality of wafers, measuring a plurality of the related constraints, which will vary from one implementa
processed wafers to determine acroSS-wafer variations pro 40 tion to another. Moreover, it will be appreciated that Such a
duced by the proceSS operation performed in the proceSS development effort might be complex and time-consuming,
tool, adjusting, based upon the measured acroSS-wafer but would nevertheless be a routine undertaking for those of
variations, a plane of a Surface of an adjustable wafer Stage, ordinary skill in the art having the benefit of this disclosure.
and performing the process operation on at least one Sub             The present invention will now be described with refer
Sequently processed wafer positioned on the wafer Stage in 45 ence to the attached figures. Although the various regions
the proceSS chamber after the plane of the wafer Stage has and Structures of a Semiconductor device are depicted in the
been adjusted. In further embodiments, the method further drawings as having very precise, Sharp configurations and
comprises measuring a plurality of the processed wafers to profiles, those skilled in the art recognize that, in reality,
determine acroSS-wafer variations in a thickneSS or in feature    these regions and Structures are not as precise as indicated in
sizes produced by the proceSS operation. The method may 50 the drawings. Additionally, the relative sizes of the various
further comprise performing at least one of raising, lowering features and Structures depicted in the drawings may be
and tilting, based upon the measured across-wafer exaggerated or reduced as compared to the Size of those
variations, the plane of the Surface of the adjustable wafer features or structures on real-word Systems. Moreover, for
Stage.                                                            purposes of clarity, the illustrative System depicted herein
   The present invention is also directed to a System that may 55 does not include all of the Supporting utilities and devices of
be used to perform the methods described herein. In one Such a System. Nevertheless, the attached drawings are
embodiment, the System is comprised of a metrology tool for included to describe and explain illustrative examples of the
measuring a plurality of wafers processed in a process tool present invention.
to determine acroSS-wafer variations produced by the pro             In general, the present invention is directed to a process
ceSS tool, a process tool comprised of an adjustable wafer 60 tool comprised of an adjustable wafer Stage, and various
Stage that has a Surface adapted to receive a wafer to be methods and Systems for performing proceSS operations
processed in the tool, and a controller for adjusting a plane using Same. AS will be readily apparent to those skilled in the
of the Surface of the wafer Stage based upon the determined art upon a complete reading of the present application, the
acroSS-wafer variations produced by the tool, whereby the present method is applicable to a variety of technologies,
process tool processes at least one Subsequently processed 65 e.g., NMOS, PMOS, CMOS, etc., and it is readily applicable
wafer positioned on the wafer Stage after the plane of the to a variety of devices, including, but not limited to, logic
Surface of the wafer Stage has been adjusted.                     devices, memory devices, etc. Moreover, the present inven
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tion may be employed with a variety of processes performed cal Systems. In the disclosed embodiment, each of three
in Semiconductor manufacturing.                                    pneumatic cylinders 46 (only one of which is shown in FIG.
   AS Stated previously, in manufacturing integrated circuit 2) are operatively coupled to the bottom surface 43 of the
devices, many deposition and etching processes, e.g., CVD, wafer stage 40 via a ball and socket connection 48. As shown
PECVD and PVD deposition processes, chemical etching in FIG. 3, a bottom view taken along the line “3-3” in FIG.
processes, Sputter etching processes, reactive ion etching 2, the pneumatic cylinderS 46 are Spaced apart approxi
processes, etc., may be performed. The processing tools for mately 120 degrees under the wafer stage 40. Also depicted
performing Such processes, i.e., deposition tools and etch in FIG. 2 is an illustrative manifold 60 and a valve 61 that
tools, may have various physical configurations that depend will be used in actuating the pneumatic cylinder 46 to
upon a variety of factors, e.g., the manufacturer, the type of control the position of the surface 42 of the wafer stage 40.
process to be performed, etc. U.S. Pat. Nos. 6,068,784 and Only one valve 61 is depicted in FIG. 2. However, each
6,251,792 B 1 depict illustrative processing tools that may be cylinder 46 may have its own valve 61 such that each of the
used in modern Semiconductor manufacturing. Both of these cylinders 46 may be independently controlled.
patents are hereby incorporated by reference in their entirety.      The pneumatic cylinderS 46 may be any type of pneu
However, many, if not all, of Such tools have a proceSS 15 matic cylinders useful for performing the function of adjust
chamber, where processing operations will be performed, ing the surface 42 of the wafer stage 40. For example, the
and a wafer Stage or chuck in the process chamber that is pneumatic cylinderS 46 may be dual-acting pneumatic cyl
adapted to hold a wafer in position during processing, inders. The Stroke, Size and Supply pressure to Such cylinders
typically through use of vacuum pressure or one or more may vary depending upon the particular application. Air or
clamps. In many tools, the wafer Stage is actually an an inert gas may be Supplied to the cylinderS 46 at the
electrode that is used to ground the wafer while a plasma is required pressure through flexible hoses (not shown).
created above the wafer by other electrodes or coils in Such         The illustrative pneumatic cylinder 46 depicted in FIG. 2
tools. The present invention is generally directed to a wafer is comprised of a housing 47, a shaft 49 and a ball 51
Stage having an adjustable Surface or plane, Such that the coupled to the shaft 49. The ball 51 of the cylinder 46 is
plane of the wafer Stage may be raised, lowered or tilted. By 25 operatively coupled to a housing 50 in a ball and Socket
adjusting the plane of the wafer Stage, the present invention arrangement 48. The housing 50 is comprised of three
may be useful in reducing or overcoming Some of the sections 50A, 50B and 50C. In the disclosed embodiments,
problems described in the background Section of this appli the section 50C is secured to the bottom Surface 43 of the
cation.                                                            wafer stage 40, and the sections 50A, 50B are secured to the
   An illustrative wafer Stage 40 in accordance with one section 50C by a plurality of screws 59. See FIG. 3. Of
embodiment of the present invention will now be described course, the ball and Socket connection 48 may be achieved
with reference to FIGS. 2-3. As shown therein, the wafer           by a variety of different structures known to those skilled in
stage 40 has a top surface 42 and a bottom surface 43. In the art. Moreover, the present inventions may be employed
operation, a wafer (not shown) may be positioned on the top in Situations where the pneumatic cylinderS 46 may be
Surface 42 of the wafer Stage 40 and processing operations 35 coupled to the wafer Stage 40 by another type of connection,
may then be performed on the wafer. The wafer may be e.g., a pinned connection. Thus, the particular details of the
Secured to the stage by a plurality of clamps (not shown) manner in which the cylinderS 46 are operatively coupled to
and/or a vacuum chuck (not shown). Given the moveable the wafer stage 40 should not be considered limitations of
nature of the wafer stage 40 of the present invention, the the present invention unless Such details are specifically Set
utilities for actuating the clamps and/or providing a vacuum 40 forth in the appended claims.
may have to be flexibly coupled to the wafer stage 40 via            Also depicted in FIG. 3 are a plurality of guides 54 that
flexible hoses and the like. The particular arrangements of may or may not be employed in every situation. For clarity,
Such connections are well within the knowledge of those guides 54 are not depicted in FIG. 2. In the depicted
skilled in the art. Accordingly, they will not be described in embodiment of FIG. 3, the guides 54 are comprised of a tab
any detail.                                                     45 56 and a guide structure 55. The tab 56 is fixedly coupled to
   The top surface 42 of the wafer stage 40 defines a plane the wafer stage 40, and the guide structure 55 is fixedly
44 that, as described more fully below, may be raised, coupled to the process chamber, or other similar fixed
lowered or tilted at an angle 45 as desired. The magnitude by Structure of a process tool. The guides 54 are provided to
which the surface 42 may be raised, lowered or tilted may prevent or limit rotation of the wafer stage 40 in the
vary depending upon the particular application. In one 50 directions indicated by arrow 57. Any number of such guides
embodiment, the surface 42 of the wafer stage 40 may be 54 may be provided. In the depicted embodiment, two such
raised or lowered approximately 0.25-3.0 inches, and the guides 54 are positioned approximately 180 degrees apart.
plane 44 of the surface 42 of the wafer stage 40 may vary Of course, the guides 54 must be sized so as to allow for the
from approximately 0–25 degrees relative to a horizontal maximum tilt anticipated for the wafer Stage 40.
surface. Moreover, as will be recognized by those skilled in 55 In one embodiment, an end 53 of the cylinder 46 is fixed
the art after a complete reading of the present application the to a portion 39 of the process chamber, or other fixed
Surface 42 may be adjusted dynamically during a proceSS structure. In other embodiments, the end 53 of the cylinder
operation, or it may be adjusted only a single time prior to 46 may be connected to the proceSS chamber by a pinned or
performing a proceSS operation on a wafer positioned ball and Socket arrangement, although those Situations are
thereon. Additionally, the Surface 42 may be adjusted based 60 not depicted in FIG. 2. It should be understood that the
upon metrology data obtained for wafers to be processed in portion 39 of the process chamber is intended to be repre
a process tool (i.e., a feed-forward mode), or based upon sentative in nature. That is, the portion 39 may be any
metrology data obtained for wafers that have previously portion of a proceSS chamber or other Structure that is
been processed in the process tool (i.e., a feed-back mode). Stationary and provides an adequate foundation for anchor
   A mechanism useful in adjusting the position of the wafer 65 ing the end 53 of the cylinder 46.
Stage 40 may be comprised of any of a variety of devices,            Of course, Structures other than the pneumatic cylinders
Such as pneumatic, hydraulic, electromagnetic or mechani 46 depicted in FIG.2 may be employed for raising, lowering
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or tilting the surface 42 of the wafer stage 40. For example, ally reflect real-world conditions. However, the responsible
as shown in FIGS. 4 and 5, in place of each of the pneumatic process engineer may decide on an appropriate number of
cylinderS 46, a rack and pinion assembly arrangement 80 measurements to be taken, as well as the location of those
may be provided. In one illustrative embodiment, the rack measurements consistent with the degree of confidence
and pinion assembly 80 is comprised of a rack 82, a pinion desired by the proceSS engineer with respect to the particular
86, a guide 84 and an electric motor 88 having a motor application under consideration.
support 90. Ashaft 81 and ball 83 are coupled to the rack 82.         Control equations may be employed to raise, lower or
                                                                   adjust the angle of the surface 42 of the wafer stage 40 in
The rack 82 is adapted to slide with the guide 84 when the situations
motor 88 is actuated. The rack 82 and the motor support 90                     where the methods described herein indicate that
may be fixedly coupled to any portion of the process               Such  an   adjustment   is warranted, e.g., when acroSS-wafer
chamber Sufficient to provide the necessary anchoring Sup variations in thickness and/or feature sizes are present. That
port for these structures. The electric motor 88 may be any is, the metrology data may be used in either a feed-forward
type of electric motor, Such as a stepper motor. By actuation or feedback manner to control the adjustment of the Surface
of the electric motor 88, the rack 82 may be raised or 42              of the wafer stage 40. The control equations may be
lowered, thereby raising, lowering or adjusting the angle 45 15 developed empirically using commonly known linear or
of the surface 42 of the wafer stage 40.                           non-linear techniques. The controller 74 may automatically
   An illustrative system 70 that may be used in one embodi control         the plane 44 of the surface 42 of the wafer stage 40.
ment of the present invention is shown in FIG. 4. In one nitude ofuseacroSS-wafer
                                                                   Through         of the present invention, the extent and mag
embodiment, the system 70 is comprised of a process tool 72 process tools 72 may bevariations    reduced.
                                                                                                           performed by various
                                                                                                          That  is, by effectively
and a controller 74. In other embodiments, the system repositioning all, or a portion, of the Surface               42, the varia
further comprises a metrology tool 76. In general, a wafer 28 tions resulting from a process may be reduced or         eliminated.
is provided to the process tool 72 where a proceSS operation For example, if a particular area or region of a process
will be performed on the wafer 28. The controller 74 may be is formed too thick, the surface 42 may be tilted so layer        as to
used to raise, lower or adjust the tilt of the surface 42 of the position the affected portion further away from, for example,
                                                                25
wafer stage 40. The controller 74 may use feed-forward or a target in a PVD system, thereby reducing the thickness of
feed-back metrology data to raise, lower or tilt the Surface 42 the proceSS layer in that localized area.
of the wafer stage 40.
   The process tool 72 may be any type of processing tool             The controller 74 may be used to monitor and control the
commonly found in Semiconductor manufacturing opera positioning    process
                                                                                 of the surface 42 of the wafer stage 40 within a
                                                                             chamber.   Such positioning may be relative to any
tions. For example, the process tool 72 may be a deposition reference point or plane.          For example, with respect to a PVD
tool adapted to perform at least one of a CVD, PECVD or System, the positioning of the Surface 42 of the wafer Stage
PVD process. AS another example, the process tool may be 40 may be made with respect to an upper electrode (not
an etching tool, Such as a plasma etching tool, a Sputter etch shown), or target, commonly found in Such systems. In
tool, a reactive ion etching tool, etc.                         35 effect, the adjustable wafer stage 40 of the present invention
   If used, the metrology tool 76 may be any type of tool may be used to vary the distance between the target (upper
useful for determining acroSS-wafer variations resulting electrode) and wafer stage (bottom electrode) in Such
from the process tool 72. For example, the metrology tool 76 Systems, thereby affecting the deposition rates of the mate
may be an ellipsometer or a profilometer useful for deter rial formed on a wafer during such a PVD process.
mining acroSS-wafer thickness variations in a deposited 40 The controller 74 may sense or detect the positioning of
proceSS layer. Alternatively, the metrology tool 76 may be a the surface 42 by a variety of known techniques. For
Scanning electron microscope or a Scatterometer useful for example, in the case where a rack and pinion combinations,
inspecting features formed by an etching process to detect i.e., rack 82 and pinion 86, are used to adjust the Surface 42,
for areas of the wafer 28 where the etching process may be the controller may sense the Steps taken by the Stepper motor
too aggressive, i.e., where features are formed with critical 45 88, and correlate that with the vertical travel of the ball 83.
dimensions that are Smaller than anticipated, or features that Alternatively, one or more metrology tools (not shown) for
exhibit undercutting. Such a metrology tool 76 may also be detecting the travel of the rack 82 or ball 51 on the
useful in determining where etching has been less than pneumatic cylinder 46. AS another example, the pneumatic
complete.                                                          cylinder 46 may be provided with sensors to detect the travel
   In one embodiment, the measurements taken by the 50 of the rod 49 of the cylinder 46. Initially, the controller 74
metrology tool 76 may be performed on any desired number may position the Surface 42 at an approximately horizontal
of wafers before or after the wafers have been processed in position with the travel rack 82 and/or rod 49 of the
the process tool 72. For example, Such measurements may hydraulic cylinderS 46 located at the approximate middle of
be performed on all wafers in one or more lots, or on a their overall travel length.
representative number of wafers in a given lot, and these 55 In the illustrated embodiment, the controller 74 is a
results may then be used to control or adjust the relative computer programmed with Software to implement the func
position of the surface 42 of the wafer stage 40 in the process tions described herein. Moreover, the functions described
tool 72 on Subsequently processed wafers. Additionally, for the controller 74 may be performed by one or more
more than one lot of waferS may be analyzed until Such time controllerS Spread through the System. For example, the
as the proceSS engineer has achieved a Sufficiently high 60 controller 74 may be a fab level controller that is used to
degree of confidence that the metrology accurately reflects control processing operations throughout all or a portion of
the acroSS-wafer characteristics of a process tool 76 or of a a Semiconductor manufacturing facility. Alternatively, the
particular process flow.                                           controller 74 may be a lower level computer that controls
   The number of and location of the measurements taken by only portions or cells of the manufacturing facility.
the metrology tool 76 on any particular wafer may be varied 65 Moreover, the controller 74 may be a stand-alone device, or
as a matter of design choice. The more measurements taken, it may reside on the process tool 72. However, as will be
the higher degree of likelihood that the measurements actu appreciated by those of ordinary skill in the art, a hardware
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controller (not shown) designed to implement the particular      present application, the present invention is very versatile
functions may also be used.                                      and may be employed in a variety of ways to raise, lower or
   Portions of the invention and corresponding detailed tilt the surface 42 of the wafer stage 40. Accordingly, the
description are presented in terms of Software, or algorithms illustrative examples described and discussed herein should
and Symbolic representations of operations on data bits not be considered a limitation of the present invention unless
within a computer memory. These descriptions and repre Such limitations are clearly Set forth in the appended claims.
sentations are the ones by which those of ordinary skill in the    The present invention is generally directed to a process
art effectively convey the substance of their work to others tool comprised of an adjustable wafer Stage, and various
of ordinary skill in the art. An algorithm, as the term is used methods and Systems for performing proceSS operations
here, and as it is used generally, is conceived to be a using Same. In one illustrative embodiment, the process tool
Self-consistent Sequence of Steps leading to a desired result. is comprised of a process chamber, and an adjustable wafer
The Steps are those requiring physical manipulations of Stage 40 positioned in the process chamber to receive a
physical quantities. Usually, though not necessarily, these wafer positioned thereabove, the wafer Stage 40 having a
quantities take the form of optical, electrical, or magnetic surface 42 that is adapted to be raised, lowered or tilted. In
Signals capable of being Stored, transferred, combined, 15 further embodiments, the process tool may be comprised of
compared, and otherwise manipulated. It has proven con a plurality of pneumatic cylinderS 46 or rack and pinion
Venient at times, principally for reasons of common usage, combinations 82, 86 that are operatively coupled to the
to refer to these signals as bits, values, elements, Symbols, wafer stage 40. The cylinders 46 and rack and pinion
characters, terms, numbers, or the like.                         combinations 82, 86 may be used in moving or adjusting the
   It should be borne in mind, however, that all of these and    wafer stage 40. In even further embodiments, the process
Similar terms are to be associated with the appropriate tool may further comprise at least three pneumatic cylinders
physical quantities an these quantities. Unless Specifically 46 or at least three rack and pinion combinations 82, 86,
Stated otherwise, or as is apparent from the discussion, terms each of which are operatively coupled to the wafer stage 40
Such as “processing” or “computing” or "calculating” or " by a ball and socket connection 48.
determining” or “ displaying or the like, refer to the actions 25 In one illustrative embodiment, the method disclosed
and processes of a computer System, or Similar electronic herein comprises providing a process chamber comprised of
computing device, that manipulates and transforms data a wafer stage 40, the wafer stage 40 having a surface 42 that
represented as physical, electronic quantities within the is adjustable, adjusting the Surface 42 of the wafer Stage 40
computer System's registers and memories into other data by performing at least one of raising, lowering and varying
Similarly represented as physical quantities within the com a tilt of the Surface 42 of the wafer Stage 40, positioning a
puter System memories or registers or other Such informa wafer on the wafer Stage 40, and performing a proceSS
tion Storage, transmission or display devices.                   operation on the wafer positioned on the wafer Stage 40. In
   An exemplary Software system capable of being adapted further embodiments, the method further comprises adjust
to perform the functions of the controller 74, as described, ing the Surface 42 of the wafer Stage 40 by actuating at least
is the Catalyst system offered by KLA Tencor, Inc. The 35 one of a plurality of pneumatic cylinderS 46 that are opera
Catalyst System uses Semiconductor Equipment and Mate tively coupled to the wafer Stage 40, or by actuating at least
rials International (SEMI) Computer Integrated Manufac one of a plurality of rack and pinion combinations 82, 86 that
turing (CIM) Framework compliant System technologies, are operatively coupled to the wafer Stage 40.
and is based on the Advanced Process Control (APC)                 In another illustrative embodiment, the method comprises
Framework. CIM (SEMI E81-0699-Provisional Specifi 40 performing a proceSS operation in a process tool on each of
cation for CIM Framework Domain Architecture) and APC a plurality of wafers, measuring a plurality of the processed
(SEMI E93–0999-Provisional Specification for CIM wafers to determine acroSS-wafer variations produced by the
Framework Advanced Process Control Component) speci process operation performed in the process tool, adjusting,
fications are publicly available from SEMI.                      based upon the measured acroSS-wafer variations, a plane 44
   The present invention may be employed in a variety of 45 of a Surface 42 of an adjustable wafer Stage 40, and
contexts. For example, metrology data may indicate that a performing the process operation on at least one Subse
particular deposition tool forms a process layer that has a quently processed wafer positioned on the wafer Stage 40 in
generally concave Surface profile that is approximately the process chamber after the plane 44 of the wafer stage 40
uniform around the circumference of the wafer. In that           has been adjusted. In further embodiments, the method
Situation, the method disclosed herein may involve raising 50 further comprises measuring a plurality of the processed
or lowering the surface 42 of the wafer 40 while insuring wafers to determine acroSS-wafer variations in a thickness or
that it remains approximately horizontal. In other situations, in feature sizes produced by the proceSS operation. The
the metrology data may indicate that, while there is acroSS method may further comprise performing at least one of
wafer variations in the thickness of the process layer formed raising, lowering and tilting, based upon the measured
in a deposition tool, Such variations are rather localized in 55 across-wafer variations, the plane 44 of the Surface 42 of the
nature, e.g., the proceSS layer exhibits variations near an adjustable wafer stage 40.
edge region of the wafer for a distance of approximately 180       The present invention is also directed to a System that may
degrees around the circumferences of the wafer. In that be used to perform the methods described herein. In one
situation, the controller 74 may act to adjust the tilt of the embodiment, the System is comprised of a metrology tool 76
Surface 42, by either raising or lowering the affected Side. 60 for measuring a plurality of waferS processed in a process
Similar adjustments may be made with other types of tool 72 to determine across-wafer variations produced by the
processes, e.g., etching processes. Moreover, Such adjust process tool 72, a process tool 72 comprised of an adjustable
ments to the surface 42 of the wafer stage 40 may be wafer Stage 40 that has a Surface 42 adapted to receive a
dynamic in nature. That is, the Surface 42 may be adjusted wafer to be processed in the tool 72, and a controller 76 for
Several times during a process, e.g., deposition, etching, in 65 adjusting a plane 44 of the surface 42 of the wafer stage 40
an effort to achieve the desired results. Thus, as those skilled based upon the determined acroSS-wafer variations produced
in the art will understand after a complete reading of the by the tool 72, whereby the process tool 72 processes at least
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one Subsequently processed wafer positioned on the wafer             7. A process tool, comprising:
stage 40 after the plane 44 of the surface 42 of the wafer           a process chamber;
Stage 40 has been adjusted.                                          a wafer Stage in Said process chamber to receive a wafer
   In another embodiment, the System is comprised of a                  positioned thereabove, Said wafer Stage having a Sur
means for measuring a plurality of waferS processed in a                face that is adapted to be raised, lowered or tilted; and
process tool to determine acroSS-wafer variations produced           at least three rack and pinion combinations operatively
by the process tool, a proceSS means for performing a                   coupled to Said wafer Stage that, when actuated, may be
proceSS operation, the proceSS means comprised of an                    used in raising, lowering or tilting Said Surface of Said
adjustable wafer Stage 40 that has a Surface 42 adapted to              wafer Stage.
receive a wafer to be processed in the tool, and a controller
means for adjusting a plane 44 of the Surface 42 of the wafer        8.  The process tool of claim 7, wherein said process
Stage 40 based upon the determined acroSS-wafer variations chamber           is comprised of at least one of a deposition chamber
produced by the tool, whereby the process means processes and an etch chamber.
at least one Subsequently processed wafer positioned on the          9. The process tool of claim 7, wherein said process
wafer stage 40 after the plane 44 of the surface 42 of the 15 chamber is a deposition chamber adapted to perform at least
wafer stage 40 has been adjusted. In the disclosed one of a chemical vapor deposition, a plasma enhanced
embodiment, the means for measuring the plurality of chemical vapor deposition process and a physical vapor
waferS is the metrology tool 76, the proceSS means is the deposition process.
process tool 72, and the controller means is the controller 74.      10. The process tool of claim 7, wherein said process
The present invention is also directed to means for moving chamber is an etch chamber adapted to perform at least one
or positioning the wafer Stage 40. In the disclosed of a chemical etching process, a Sputter etching process, and
embodiment, Such means are the plurality of pneumatic a reactive ion etching process.
cylinders 46 and the rack and pinion combinations 82, 86.            11. The process tool of claim 7, further comprising an
   Through use of the present invention, better proceSS electric motor operatively coupled to each of Said rack and
control may be achieved in modern integrated circuit manu pinion combinations.
facturing facilities. Additionally, the present invention may 25 12. The process tool of claim 7, wherein each of said at
enable more precise formation of various features of inte least three rack and pinion combinations are operatively
grated circuit devices, thereby improving device perfor coupled to Said wafer Stage by a ball and Socket connection.
mance and increasing production yields.                              13. The process tool of claim 7, wherein said at least three
   The particular embodiments disclosed above are illustra
tive only, as the invention may be modified and practiced in rack  mately
                                                                         and pinion combinations are spaced apart approxi
                                                                           120 degrees.
different but equivalent manners apparent to those skilled in        14.  A method, comprising:
the art having the benefit of the teachings herein. For
example, the process Steps Set forth above may be performed          providing a proceSS chamber comprised of a wafer Stage,
in a different order. Furthermore, no limitations are intended          Said wafer Stage having a Surface that is adjustable;
to the details of construction or design herein shown, other 35      adjusting   Said Surface of Said wafer Stage by performing
than as described in the claims below. It is therefore evident          at least one of raising, lowering and varying a tilt of
that the particular embodiments disclosed above may be                  Said Surface of Said wafer Stage;
altered or modified and all Such variations are considered           positioning a wafer on Said wafer Stage after Said wafer
within the Scope and Spirit of the invention. Accordingly, the          Stage has been adjusted; and
protection Sought herein is as Set forth in the claims below. 40 performing a proceSS operation on Said wafer positioned
   What is claimed:                                                     on Said wafer Stage.
   1. A process tool, comprising:                                    15. The method of claim 14, wherein providing a process
   a process chamber;                                              chamber comprises providing at least one of a deposition
   a wafer Stage in Said process chamber to receive a wafer chamber and an etching chamber.
      positioned thereabove, Said wafer Stage having a Sur 45 16. The method of claim 14, wherein performing a
      face that is adapted to be raised, lowered or tilted; and process operation on Said wafer comprises performing at
   at least three pneumatic cylinderS operatively coupled to least one of a deposition proceSS and an etching process on
      Said Stage that, when actuated, may be used in raising, Said wafer in Said process chamber.
      lowering or tilting Said Surface of Said wafer Stage.          17. The method of claim 14, wherein adjusting said
   2. The process tool of claim 1, wherein Said proceSS 50 Surface of Said wafer Stage comprises adjusting Said Surface
chamber is comprised of at least one of a deposition chamber of Said wafer Stage by actuating at least one of a plurality of
and an etch chamber.                                               pneumatic cylinders that are operatively coupled to Said
   3. The process tool of claim 1, wherein Said proceSS wafer Stage.
chamber is a deposition chamber adapted to perform at least          18. The method of claim 14, wherein adjusting said
one of a chemical vapor deposition process, a plasma 55 Surface of Said wafer Stage comprises adjusting Said Surface
enhanced chemical vapor deposition proceSS and a physical of Said wafer Stage by actuating at least one of a plurality of
Vapor deposition process.                                          rack and pinion combinations that are operatively coupled to
   4. The process tool of claim 1, wherein Said proceSS Said wafer Stage.
chamber is an etch chamber adapted to perform at least one           19. A method, comprising:
of a chemical etching process, a Sputter etching process, and   60   providing   a proceSS chamber comprised of a wafer Stage,
a reactive ion etching process.                                         Said wafer Stage having a Surface that is adjustable;
   5. The process tool of claim 1, wherein each of said at           adjusting Said Surface of Said wafer Stage by actuating at
least three pneumatic cylinders are operatively coupled to              least one of a plurality of pneumatic cylinders that are
Said wafer Stage by a ball and Socket connection.                       operatively coupled to Said wafer Stage to accomplish
   6. The process tool of claim 1, wherein said at least three 65       at least one of raising, lowering and varying a tilt of
pneumatic cylinders are spaced apart approximately 120                  Said Surface of Said wafer Stage;
degrees.                                                             positioning a wafer on Said wafer Stage; and
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   performing a proceSS operation on Said wafer positioned           33. The method of claim 31, wherein performing a
      on Said wafer Stage.                                        process operation in a process tool on each of a plurality of
   20. The method of claim 19, wherein providing a process wafers comprises performing at least one of a chemical
chamber comprises providing at least one of a deposition Vapor deposition process, a plasma enhanced chemical
chamber and an etching chamber.                                   Vapor deposition process, and a physical vapor deposition
   21. The method of claim 19, wherein positioning a wafer process in a process tool on each of a plurality of wafers.
on Said wafer Stage comprises positioning a wafer on Said            34. The method of claim 31, wherein performing a
wafer Stage after Said wafer Stage has been adjusted.             process operation in a process tool on each of a plurality of
   22. The method of claim 19, wherein positioning a wafer wafers comprises performing at least one of a chemical
on Said wafer Stage comprises positioning a wafer on Said etching process, a Sputter etching process, and a reactive ion
wafer Stage before Said wafer Stage is adjusted.                  etching process in a process tool on each of a plurality of
   23. The method of claim 19, wherein performing a wafers.
proceSS operation on Said wafer comprises performing at              35. The method of claim 31, wherein measuring a plu
least one of a deposition process and an etching proceSS in rality of Said processed wafers to determine acroSS-wafer
Said process chamber.                                             variations produced by Said process operation comprises
   24. The method of claim 19, wherein adjusting said 15 measuring a plurality of Said processed wafers to determine
Surface of Said wafer Stage comprises adjusting Said Surface acroSS-wafer variations in a thickness of a proceSS layer
of Said wafer Stage by actuating at least one of three produced by Said proceSS operation.
pneumatic cylinders, each of which are operatively coupled           36. The method of claim 31, wherein measuring a plu
to Said wafer Stage by a ball and Socket connection.              rality of Said processed wafers to determine acroSS-wafer
   25. A method, comprising:                                      variations produced by Said process operation comprises
   providing a proceSS chamber comprised of a wafer Stage, measuring a plurality of Said processed wafers to determine
      Said wafer Stage having a Surface that is adjustable;       acroSS-wafer variations in feature sizes produced by Said
                                                                  process operation.
   adjusting Said Surface of Said wafer Stage by actuating at        37. The method of claim 31, wherein adjusting, based
      least one of a plurality of rack and pinion combinations 25 upon
      that are operatively coupled to Said wafer Stage to SurfaceSaid          measured acroSS-wafer variations, a plane of a
                                                                           of an adjustable wafer Stage comprises performing at
      accomplish at least one of raising, lowering and vary least one of raising, lowering and tilting, based upon Said
      ing a tilt of Said Surface of Said wafer Stage;             measured acroSS-wafer variations, Said plane of Said Surface
   positioning a wafer on Said wafer Stage, and                   of Said adjustable wafer Stage.
   performing a proceSS operation on Said wafer positioned           38. A method, comprising:
      on Said wafer Stage.                                           performing a deposition process in a deposition tool on
   26. The method of claim 25, wherein providing a process              each of a plurality of wafers to form a process layer
chamber comprises providing at least one of a deposition                above each of Said wafers,
chamber and an etching chamber.                                      measuring a plurality of Said process layers formed above
   27. The method of claim 25, wherein positioning a wafer 35           a plurality of Said wafers to determine acroSS-Wafer
on Said wafer Stage comprises positioning a wafer on Said               thickness variations produced by Said deposition pro
wafer Stage after Said wafer Stage has been adjusted.                   CeSS,
   28. The method of claim 25, wherein positioning a wafer           adjusting, based upon said measured acroSS-wafer thick
on Said wafer Stage comprises positioning a wafer on Said               neSS Variations, a plane of a Surface of an adjustable
wafer Stage before Said wafer Stage is adjusted.               40       wafer  Stage, and
   29. The method of claim 25, wherein performing a                  performing Said deposition process on at least one Sub
proceSS operation on Said wafer comprises performing at                 Sequently processed wafer positioned on Said wafer
least one of a deposition process and an etching proceSS in             Stage in Said deposition tool after said plane of Said
Said process chamber.                                                   wafer Stage has been adjusted.
   30. The method of claim 25, wherein adjusting said 45 39. The method of claim 38, wherein performing a
Surface of Said wafer Stage comprises adjusting Said Surface deposition process in a deposition tool on each of a plurality
of Said wafer Stage by actuating at least one of three rack and of waferS comprises performing at least one of a chemical
pinion combinations, each of which are operatively coupled Vapor deposition process, a plasma enhanced chemical
to Said wafer Stage by a ball and Socket connection.              Vapor deposition process, and a physical vapor deposition
   31. A method, comprising:                                   50 process in a process tool on each of a plurality of wafers.
   performing a process operation in a process tool on each          40. The method of claim 38, wherein adjusting, based
      of a plurality of wafers,                                   upon said measured acroSS-wafer thickness variations, a
   measuring a plurality of Said processed wafers to deter plane of a Surface of an adjustable wafer Stage comprises
      mine acroSS-wafer variations produced by Said proceSS performing at least one of raising, lowering and tilting,
      operation performed in Said process tool;                55 based upon Said measured acroSS-wafer thickness variations,
   adjusting, based upon said measured across-wafer Said plane of Said Surface of Said adjustable wafer Stage.
      variations, a plane of a Surface of an adjustable wafer        41. A method, comprising:
      Stage, and                                                     performing an etching process in an etching tool on a
   performing Said proceSS operation on at least one Subse              process layer formed above each of a plurality of
      quently processed wafer positioned on Said wafer Stage 60         wafers,
      in Said proceSS chamber after Said plane of Said wafer         measuring a plurality of etched process layerS on a
      Stage has been adjusted.                                          plurality of Said wafers to determine acroSS-wafer
   32. The method of claim 31, wherein performing a                     Variations in a feature Size produced by Said etching
proceSS operation in a process tool on each of a plurality of           operation;
wafers comprises performing a process operation comprised 65 adjusting, based upon Said measured acroSS-wafer feature
of at least one of a deposition process and an etching proceSS          Size variations, a plane of a Surface of an adjustable
in a process tool on each of a plurality of wafers.                     wafer Stage, and
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   performing Said etching process on at least one Subse                wafer variations produced by Said proceSS means,
      quently processed wafer positioned on Said wafer Stage            whereby Said proceSS means processes at least one
      in Said etching tool after Said plane of Said wafer Stage          Subsequently processed wafer positioned on Said wafer
      has been adjusted.                                                 Stage after said plane of Said Surface of Said wafer Stage
   42. The method of claim 41, wherein performing an                     has been adjusted.
etching proceSS in an etching tool comprises performing at            54. The system of claim 53, wherein said means for
least one of a chemical etching process, a Sputter etching measuring a plurality of waferS is comprised of at least one
process, and a reactive ion etching process in an etching tool of an ellipsometer, a profilometer, a Scatterometer and a
on each of a plurality of wafers.                                  Scanning electron microScope.
   43. The method of claim 41, wherein adjusting, based               55. The system of claim 53, wherein said means for
upon Said measured acroSS-wafer feature Size variations, a measuring a plurality of waferS is adapted to determine
plane of a Surface of an adjustable wafer Stage comprises acroSS-wafer thickness variations of a process layer formed
performing at least one of raising, lowering and tilting, by Said process means.
based upon said measured acroSS-wafer feature size                    56. The system of claim 53, wherein said means for
variations, Said plane of Said Surface of Said adjustable wafer 15 measuring a plurality of waferS is adapted to determine
Stage.                                                             acroSS-wafer variations in feature sizes formed by Said
   44. A System, comprising:                                       proceSS means.
   a metrology tool for measuring a plurality of wafers               57. The system of claim 53, wherein said process means
      processed in a process tool to determine acroSS-wafer is comprised of at least one of a deposition tool and an
      variations produced by Said process tool;                    etching tool.
   a process tool comprised of an adjustable wafer Stage that         58. The system of claim 53, wherein said process means
      has a Surface adapted to receive a wafer to be processed is a deposition tool adapted to perform at least one of a
      in Said tool; and                                            chemical vapor deposition process, a plasma enhanced
   a controller for adjusting a plane of Said Surface of Said chemical vapor deposition process and a physical vapor
      wafer Stage based upon Said determined acroSS-wafer 25 deposition process.
      variations produced by Said tool, whereby Said process          59. The system of claim 53, wherein said process means
      tool processes at least one Subsequently processed is an etching tool adapted to perform at least one of a
      wafer positioned on Said wafer Stage after Said plane of chemical etching process, a Sputter etching proceSS, and a
      Said Surface of Said wafer Stage has been adjusted.          reactive ion etching process.
   45. The system of claim 44, wherein said metrology tool            60. The system of claim 53, further comprising means for
is comprised of at least one of an ellipsometer, a moving Said wafer Stage.
profilometer, a Scatterometer and a Scanning electron micro           61. The system of claim 60, wherein said means for
Scope.                                                             moving Said wafer Stage comprises a plurality of pneumatic
   46. The system of claim 44, wherein said metrology tool cylinderS operatively coupled to Said wafer Stage.
is adapted to determine acroSS-wafer thickness variations of 35 62. The system of claim 60, wherein said means for
a proceSS layer formed in Said tool.                               moving Said wafer Stage comprises a plurality of rack and
   47. The system of claim 44, wherein said metrology tool pinion combinations operatively coupled to Said wafer Stage.
is adapted to determine acroSS-wafer variations in feature            63. A process tool, comprising:
sizes formed by Said process tool.                                    a process chamber; and
   48. The system of claim 44, wherein said process tool is 40 an adjustable wafer Stage in Said process chamber that is
comprised of at least one of a deposition tool and an etching            adapted to receive a wafer positioned thereabove, Said
tool.                                                                   wafer Stage having a Surface in a first plane, Said wafer
   49. The system of claim 44, wherein said process tool is              Stage being adapted to be raised to a position wherein
a deposition tool adapted to perform at least one of a                   Said Surface of Said wafer Stage is positioned in a
chemical vapor deposition process, a plasma enhanced 45                  Second plane that is offset from and approximately
chemical vapor deposition process and a physical vapor                   parallel to Said first plane.
deposition process.                                                   64. The process tool of claim 63, wherein said adjustable
   50. The system of claim 44, wherein said process tool is wafer Stage further comprises a plurality of pneumatic
comprised of an etching tool adapted to perform at least one cylinderS operatively coupled to Said wafer Stage.
of a chemical etching process, a Sputter etching process, and 50 65. The process tool of claim 63, wherein said adjustable
a reactive ion etching process.                                    wafer Stage further comprises a plurality of rack and pinion
   51. The system of claim 44, further comprising a plurality combinations operatively coupled to Said wafer Stage.
of pneumatic cylinderS operatively coupled to Said wafer              66. A process tool, comprising:
Stage.                                                                a process chamber; and
   52. The system of claim 44, further comprising a plurality 55 an adjustable wafer Stage in Said process chamber that is
of rack and pinion combinations operatively coupled to Said              adapted to receive a wafer positioned thereabove, Said
wafer Stage.                                                            wafer   Stage having a Surface in a first plane, Said wafer
   53. A System, comprising:                                             Stage being adapted to be lowered to a position wherein
   means for measuring a plurality of wafers processed in a              Said Surface of Said wafer Stage is positioned in a
      process tool to determine acroSS-wafer variations pro 60           Second plane that is offset from and approximately
      duced by Said process tool;                                        parallel to Said first plane.
   process means for performing a proceSS operation, Said             67. The process tool of claim 66, wherein said adjustable
      process means comprised of an adjustable wafer Stage wafer Stage further comprises a plurality of pneumatic
      that has a Surface adapted to receive a wafer to be cylinderS operatively coupled to Said wafer Stage.
      processed in Said tool; and                               65    68. The process tool of claim 66, wherein said adjustable
   a controller means for adjusting a plane of Said Surface of wafer Stage further comprises a plurality of rack and pinion
      Said wafer Stage based upon Said determined acroSS combinations operatively coupled to Said wafer Stage.
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   69. A process tool, comprising:                                       plane that is offset from and approximately parallel to
   a process chamber; and                                                Said first plane;
   an adjustable wafer Stage in Said proceSS chamber that is          positioning   a wafer on Said wafer Stage; and
      adapted to receive a wafer positioned thereabove, Said          performing a proceSS operation on Said wafer positioned
     wafer Stage having a Surface in a first plane, Said wafer           on Said wafer Stage.
      Stage being adapted to be tilted Such that Said Surface of      78. The method of claim 77, wherein positioning a wafer
      Said wafer Stage is positioned in a Second plane, Said on Said wafer Stage comprises positioning a wafer on Said
      Second plane being tilted relative to Said first plane by wafer Stage after Said wafer Stage has been adjusted.
      an angle that does not exceed a value ranging from              79. The method of claim 77, wherein positioning a wafer
      0-25 degrees.                                                 on Said wafer Stage comprises positioning a wafer on Said
   70. The process tool of claim 69, wherein said adjustable wafer Stage before Said wafer Stage is adjusted.
wafer Stage further comprises a plurality of pneumatic                80. The method of claim 77, wherein performing a
cylinderS operatively coupled to Said wafer Stage.                  process operation on Said wafer comprises performing at
   71. The process tool of claim 69, wherein said adjustable
wafer Stage further comprises a plurality of rack and pinion 15 least
                                                                    Said
                                                                          one of a deposition proceSS and an etching process on
                                                                         wafer  in Said process chamber.
combinations operatively coupled to Said wafer Stage.                 81. The method of claim 77, wherein adjusting said
   72. A method, comprising:                                        Surface of Said wafer Stage comprises adjusting Said Surface
   providing a proceSS chamber comprised of a wafer Stage, of Said wafer Stage by actuating at least one of a plurality of
      Said wafer Stage having a Surface that is adjustable and pneumatic cylinders that are operatively coupled to Said
      located in a first plane;                                     wafer Stage.
   adjusting Said Surface of Said wafer Stage by raising Said         82. A method, comprising:
      Surface of Said wafer Stage to a position wherein Said          providing a proceSS chamber comprised of a wafer Stage,
      Surface of Said wafer Stage is positioned in a Second              Said wafer Stage having a Surface that is adjustable and
      plane that is offset from and approximately parallel to 25         located in a first plane;
      Said first plane;                                                adjusting Said Surface of Said wafer Stage by tilting Said
   positioning a wafer on Said wafer Stage, and                          Surface of Said wafer Stage Such that said Surface of Said
   performing a proceSS operation on Said wafer positioned               wafer Stage is positioned in a Second plane, Said Second
      on Said wafer Stage.                                               plane being tilted relative to Said first plane by an angle
   73. The method of claim 72, wherein positioning a wafer               that does not exceed a value ranging from 0–25
on Said wafer Stage comprises positioning a wafer on Said                degrees;
wafer Stage after Said wafer Stage has been adjusted.                 positioning a wafer on Said wafer Stage; and
   74. The method of claim 72, wherein positioning a wafer            performing a proceSS operation on Said wafer positioned
on Said wafer Stage comprises positioning a wafer on Said                on Said wafer Stage.
wafer Stage before Said wafer Stage is adjusted.                 35
   75. The method of claim 72, wherein adjusting said on SaidThewafer 83.       method of claim 82, wherein positioning a wafer
                                                                                    Stage comprises positioning a wafer on Said
Surface of Said wafer Stage comprises adjusting Said Surface wafer Stage after         Said wafer Stage has been adjusted.
of Said wafer Stage by actuating at least one of a plurality of
pneumatic cylinders that are operatively coupled to Said on Said wafer Stageofcomprises
                                                                      84.  The  method     claim 82, wherein positioning a wafer
                                                                                                      positioning a wafer on Said
wafer Stage.                                                     40
                                                                    wafer Stage before Said wafer Stage is adjusted.
   76. The method of claim 72, wherein adjusting said                 85. The method of claim 82, wherein adjusting said
Surface of Said wafer Stage comprises adjusting Said Surface Surface        of Said wafer Stage comprises adjusting Said Surface
of Said wafer Stage by actuating at least one of a plurality of of Said wafer      Stage by actuating at least one of a plurality of
rack and pinion combinations that are operatively coupled to pneumatic cylinders           that are operatively coupled to Said
Said wafer Stage.                                                45
   77. A method, comprising:                                        wafer  Stage.
                                                                      86. The method of claim 82, wherein adjusting said
   providing a proceSS chamber comprised of a wafer Stage, Surface of Said wafer Stage comprises adjusting Said Surface
      Said wafer Stage having a Surface that is adjustable and of Said wafer Stage by actuating at least one of a plurality of
      located in a first plane;                                  50 rack and pinion combinations that are operatively coupled to
   adjusting Said Surface of Said wafer Stage by lowering Said Said wafer Stage.
      Surface of Said wafer Stage to a position wherein Said
      Surface of Said wafer Stage is positioned in a Second
